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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 1:07-cr-295

v.                                                          HON. JANET T. NEFF

MATTHEW ESTRADA,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Matthew Estrada has filed a motion for modification or reduction of sentence (Dkt

171) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department filed a Sentence Modification Report (Dkt 209) finding defendant eligible for the

reduction. The parties stipulated (Dkt 215) to the retroactive application of the sentencing

amendment and requests the Court to amend the sentence.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
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       Having fully considered the Sentence Modification Report (Dkt 209) and the Stipulation

(Dkt 215), the Court has determined that defendant is eligible to a reduction of sentence pursuant

to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 171) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

120 months, as it is the mandatory minimum, with an effective date of November 1, 2015.




DATED: September 21, 2015                            /s/ Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge




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